                                      Case 2:22-cv-00040-SAB       ECF No. 1       filed 03/09/22   PageID.1 Page 1 of 36



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                                 11
                                        Attorneys for Adversary Proceeding
                                 12     Defendant Jun Dam
                                 13
                                                         UNITED STATES BANKRUPTCY COURT
                                 14
                                                          EASTERN DISTRICT OF WASHINGTON
                                 15
                                        In re:                                         Case No: 18-03197 FPC 7
                                 16
                                        GIGA WATT, INC., a Washington                  The Honorable Frederick P. Corbit
                                 17     corporation,
                                                                                       Chapter 7
                                 18                  Debtor.
                                 19     MARK D. WALDRON, as Chapter 7                  Adversary Proceeding No. 21-80053
                                 20     Trustee,
                                                                                       NOTICE OF APPEAL AND
                                 21                  Plaintiff,                        STATEMENT OF ELECTION
                                                                                       TO HAVE DISTRICT COURT HEAR
                                 22     v.                                             APPEAL

                                 23     JUN DAM, a California resident, on
                                        behalf of himself and a purported
                                 24     class of similarly situated parties,

                                 25                  Defendant.

                                 26
                                 27
                                 28
                                        NOTICE OF APPEAL AND STATEMENT OF ELECTION                    Western Washington Law Group PLLC
                                        TO HAVE DISTRICT COURT HEAR APPEAL - 1                         P.O. Box 468, Snohomish, WA 98291
                                                                                                                 (425) 728-7296
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                                      Case 2:22-cv-00040-SAB     ECF No. 1       filed 03/09/22   PageID.2 Page 2 of 36



                                  1           Pursuant to Fed. R. Bankr. P. 8002 and 8003, Jun Dam, on behalf of
                                  2     himself and all others similarly situated, hereby appeals, under 28 U.S.C.
                                  3     § 158(a), the following order of the Bankruptcy Court in this matter: Order
                                  4     Denying Mr. Dam’s Motion to Dismiss and Granting Trustee’s Motion for
                                  5     Preliminary Injunction [ECF No. 39], entered February 23, 2022. A copy of this
                                  6     Order is attached hereto as Exhibit A.
                                  7     Part 1: Identify the appellant(s)
                                  8           1.     Name of appellant: Jun Dam, on behalf of himself and all others
                                  9     similarly situated.
                                 10           2.     Position of appellant(s) in the adversary proceeding or bankruptcy
 BLOOD HURST & O’ REARDON, LLP




                                 11     case that is the subject of this appeal:
                                 12        For appeals in an adversary                For appeals in a bankruptcy case and
                                           proceeding.                                not in an adversary proceeding.
                                 13
                                             Plaintiff                                  Debtor
                                 14        X Defendant                                  Creditor
                                             Other (describe) __________                Trustee
                                 15
                                                                                        Other (describe) __________
                                 16
                                        Part 2: Identify the subject of this appeal
                                 17
                                              1.     Describe the judgment, order or decree appealed from:
                                 18
                                              Order Denying Mr. Dam’s Motion to Dismiss and Granting Trustee’s
                                 19
                                        Motion for Preliminary Injunction [ECF No. 39], see Ex. A hereto.
                                 20
                                              2.     State the date on which the judgment, order or decree was entered:
                                 21
                                        February 23, 2022.
                                 22
                                        Part 3: Identify the other parties to the appeal
                                 23
                                              List the names of all parties to the judgment, order, or decree appealed
                                 24
                                        from and the names, addresses, and telephone numbers of their attorneys (attach
                                 25
                                        additional pages if necessary):
                                 26
                                          1. Party:                                   Attorney:
                                 27
                                             Mark D. Waldron,                         Pamela M. Egan
                                 28          Chapter 7 Trustee                        Potomac Law Group
                                        NOTICE OF APPEAL AND STATEMENT OF ELECTION                  Western Washington Law Group PLLC
                                        TO HAVE DISTRICT COURT HEAR APPEAL - 2                       P.O. Box 468, Snohomish, WA 98291
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                                                                                     Seattle, WA 98119
                                  2
                                                                                     415-297-0132
                                  3
                                        Part 4: Optional election to have appeal heard by District Court
                                  4
                                              Appellants hereby elect pursuant to 28 U.S.C. § 158(c)(1) to have the
                                  5
                                        appeal heard by the United States District Court for the Eastern District of
                                  6
                                        Washington rather than by the Bankruptcy Appellate Panel.
                                  7
                                        Part 5: Sign below
                                  8
                                  9        /s/ Dennis McGlothin                                      Date: March 8, 2022
                                           Dennis McGlothin, WSBA #28177
                                 10
                                           Attorney for Appellant
 BLOOD HURST & O’ REARDON, LLP




                                 11
                                           Name, address, and telephone number of attorney
                                 12        for appellants:
                                 13
                                           Dennis J. McGlothin, WSBA No. 28177
                                 14        Robert J. Cadranell, WSBA No. 41773
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                                           Timothy G. Blood (pro hac vice)
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                                 26               toreardon@bholaw.com

                                 27        Attorneys for Appellants

                                 28
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                                  1                              CERTIFICATE OF SERVICE
                                  2           I hereby certify that on March 8, 2022, I electronically filed the foregoing
                                  3     with the Clerk of the Court using the CM/ECF System, which will in turn
                                  4     automatically generate a Notice of Electronic Filing (NEF) to all parties in the
                                  5     case who are registered users of the CM/ECF System. The NEF for the foregoing
                                  6     specifically identifies recipients of electronic notice.
                                  7           Executed on March 8, 2022.
                                  8
                                                                                            s/ Dennis McGlothin
                                  9                                                        DENNIS J. McGLOTHIN
                                 10
 BLOOD HURST & O’ REARDON, LLP




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 Case 2:22-cv-00040-SAB    ECF No. 1       filed 03/09/22   PageID.5 Page 5 of 36




                 EXHIBIT A




21-80053-FPC   Doc 40-1   Filed 03/08/22     Entered 03/08/22 18:06:54    Pg 1 of 32
              Case 2:22-cv-00040-SAB        ECF No. 1   filed 03/09/22   PageID.6 Page 6 of 36
                     So Ordered.

Dated: February 23rd, 2022


                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF WASHINGTON

            In re:
                                                          Case No. 18-03197-FPC7
            GIGA WATT, Inc., a Washington
            corporation,
                           Debtor.
                                                          Adv. Case No. 21-80053

                                                          ORDER DENYING MR. DAM’S
            MARK D. WALDRON, as Chapter 7                 MOTION TO DISMISS AND
            Trustee,                                      GRANTING TRUSTEE’S MOTION
                         Plaintiff,                       FOR PRELIMINARY
                                                          INJUNCTION
                      vs.

            JUN DAM, a California resident,
                             Defendant.



                     In this Memorandum Opinion, the Court decides two motions: (1) Defendant

        Jun Dam’s Motion to Dismiss for Lack of Subject Matter Jurisdiction (Adv. ECF

        No. 21) 1 and (2) Trustee Mark Waldron’s Motion for Injunctive Relief (Adv. ECF

        No. 2).

                     In brief, the Trustee requests a preliminary injunction against Mr. Dam’s

        pursuit of a lawsuit he filed in District Court against the law firm of Perkins Coie



        1
         “Adv. ECF” refers to the docket of the Trustee’s Preliminary Injunction Lawsuit, Bankruptcy
        Adversary Case No. 21-80053.

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      Case 2:22-cv-00040-SAB     ECF No. 1     filed 03/09/22    PageID.7 Page 7 of 36




and other defendants (“Mr. Dam’s Lawsuit”) and Mr. Dam argues that this Court

lacks subject matter jurisdiction to issue a preliminary injunction. The Court

concludes that subject matter jurisdiction exists under 28 U.S.C. § 1334(b), the

bankruptcy court’s “related to” jurisdiction, and the Trustee has made the

necessary showing to support granting a preliminary injunction to temporarily stay

Mr. Dam’s Lawsuit.

                                    BACKGROUND

         Giga Watt was in the business of building and running a large-scale

cryptocurrency mining operation. Giga Watt’s business failed, and that failure

resulted in this bankruptcy proceeding and multiple lawsuits.2 Deciding the

motions presented requires careful review of three separate pending lawsuits: the

Trustee’s lawsuit against Perkins Coie and other defendants (“Trustee’s Lawsuit”);

Mr. Dam’s Lawsuit, which is also against Perkins Coie; and the Trustee’s second

bankruptcy court lawsuit seeking a stay of Mr. Dam’s Lawsuit (“Trustee’s

Preliminary Injunction Lawsuit”).3




2
 For additional history and facts related to this case, see Memorandum Opinion and Order
Regarding Stay and Motion for Order to Show Cause, Main Case ECF No. 921, and Order
Striking Jury Demand, Adv. Case No. 20-80031, ECF No. 49.
3
 The Trustee’s Lawsuit is pending in this Court as Adversary Case No. 20-80031-FPC. Mr.
Dam’s Lawsuit is pending in the United States District Court for the Eastern District of
Washington in Case No. 20-cv-00464-SAB. The Trustee’s motion for a preliminary injunction
and Mr. Dam’s motion to dismiss are filed in this Court in Adversary Case No. 21-80053-FPC.

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   Case 2:22-cv-00040-SAB     ECF No. 1    filed 03/09/22   PageID.8 Page 8 of 36




      On April 22, 2021, this Court ruled that the Trustee’s Lawsuit is not a “core”

bankruptcy proceeding. (Adv. 21-80031, ECF No. 50) However, “a bankruptcy

judge may hear a proceeding that is not a core proceeding but that is otherwise

related to a case under title 11.” 28 U.S.C. § 157(c)(1). After adjudicating a non-

core proceeding, the bankruptcy judge submits proposed findings and conclusions

to the district court, and “any final order or judgment shall be entered by the

district judge after considering the bankruptcy judge's proposed findings and

conclusions and after reviewing de novo those matters to which any party has

timely and specifically objected.” Id.

      Accordingly, after adjudicating the Trustee’s Lawsuit, this Court will submit

proposed findings of facts and conclusions of law to the District Court. The

District Court will have the benefit of the Bankruptcy Court’s proposed findings

and conclusions at the time it finally resolves both the Trustee’s Lawsuit and Mr.

Dam’s Lawsuit. Under these circumstances, the issuance of the preliminary

injunction staying Mr. Dam’s Lawsuit promotes the efficient and expeditious

resolution of all matters connected to the bankruptcy estate. See Celotex Corp. v.

Edwards, 514 U.S. 300, 308, 115 S. Ct. 1493, 1499, 131 L. Ed. 2d 403 (1995).

      The Trustee’s Lawsuit was filed in this Court on November 19, 2020,

against four defendants: (i) Perkins Coie (“Perkins”), a law firm; (ii) Lowell Ness,

a partner in the Perkins law firm; (iii) Giga Watt PTE, Ltd.; and (iv) Andrew


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      Case 2:22-cv-00040-SAB      ECF No. 1     filed 03/09/22    PageID.9 Page 9 of 36




Kuzenny, CEO of Giga Watt Singapore. Roughly one month later, Jun Dam, as the

nominal plaintiff in a proposed class action, filed his lawsuit in the District Court

against nearly identical defendants Perkins, Lowell Ness, and Perkins’ affiliates.

Both lawsuits are based on the same core factual allegations that (i) Perkins agreed

to hold millions of dollars in escrow until Giga Watt met certain milestones in

construction, but Perkins released the money prematurely, and (ii) Perkins’

premature release of the escrowed funds caused significant damages.

         On September 27, 2021, this Court filed a Memorandum Opinion

concluding that Mr. Dam lacked standing to pursue three of the five causes of

action in Mr. Dam’s Lawsuit, and those causes of action belonged to the estate.

(ECF No. 921)4 Mr. Dam retained two remaining causes of action, a claim based

on the Washington Consumer Protection Act (“CPA”), RCW 19.86 et seq., and a

claim based on the Washington Escrow Agent Registration Act (“WEARA”),

RCW 18.44 et seq. However, in dicta, this Court noted that Mr. Dam’s pursuit of

these two claims during the pendency of the bankruptcy could threaten the orderly

liquidation procedure of bankruptcy.




4
  Mr. Dam appealed the September 27 order to the District Court (Main Case ECF No. 922) and
the appeal is stayed pending the decision of this Court on the two present motions. See Eastern
District of Washington, Dam v. Waldron, Case No. 21-cv-00291-SAB, ECF No. 11.



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    Case 2:22-cv-00040-SAB       ECF No. 1     filed 03/09/22    PageID.10 Page 10 of 36




         Subsequently, the Trustee filed Trustee’s Preliminary Injunction Lawsuit for

the purpose of asking the Court to temporarily stay Mr. Dam’s Lawsuit until the

Trustee’s Lawsuit is adjudicated or finally resolved. (Adv. ECF No. 2) The

Trustee asserts that Mr. Dam’s Lawsuit threatens the orderly liquidation of Giga

Watt Inc.’s (the “Debtor”) most important remaining asset – the claims alleged in

the Trustee’s Lawsuit. The Trustee also alleges that the continued pursuit of Mr.

Dam’s Lawsuit would cause irreparable harm and undermine the integrity of the

administration of bankruptcy estate. (Adv. ECF No. 3)

         On December 1, 2021, Mr. Dam filed the present Motion to Dismiss

Adversary Proceeding. (Adv. ECF No. 21) Mr. Dam argues that this Court lacks

subject matter jurisdiction to entertain the Trustee’s Preliminary Injunction lawsuit.

                                       DISCUSSION
A.       The Court has Subject Matter Jurisdiction over the Trustee’s
         Preliminary Injunction Lawsuit.

         Mr. Dam argues that the bankruptcy court lacks “subject matter jurisdiction

because the Trustee does not have standing to enjoin Defendant Dam’s state law

[claims].” 5 (Adv. ECF No. 21, p. 5) Mr. Dam misunderstands the relationship

between standing and jurisdiction as applied to this case.


5
 Mr. Dam’s filings are replete with inappropriate commentary and ad hominem attacks. For
example, counsel declares “the Trustee makes its Motion using incorrect legal standards backed
by an everchanging series of hair brain [sic] legal theories.” (Adv. ECF No. 28, p.6) In another
example, counsel quotes the Trustee’s interrogatory response and derides the answer: “This
gobbledygook does not cut it.” (Adv. ECF No. 28, p.21) The Court finds this commentary

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  Case 2:22-cv-00040-SAB        ECF No. 1     filed 03/09/22   PageID.11 Page 11 of 36




       1.     The Trustee has Standing to Pursue the Trustee’s Preliminary
              Injunction Lawsuit.

       Mr. Dam argues that because the Court’s previous ruling held that only Mr.

Dam, not the Trustee, has standing to assert the CPA and WEARA claims, the

Trustee lacks standing to pursue the Trustee’s Preliminary Injunction Lawsuit.

(ECF No. 21, pp. 7-8) Mr. Dam is incorrect. “Standing to bring the adversary

proceeding to enjoin the actions of a third party rests with the debtor, debtor in

possession or the trustee….” 2 COLLIER ON BANKRUPTCY ¶ 105.03 (16th ed. 2021)

(citing In re Munoz, 73 B.R. 283, 285 (Bankr. D.P.R. 1987)). While Mr. Dam is

correct that the Trustee lacks standing to pursue and litigate the CPA and WEARA

claims, the Trustee is not seeking to do so. Instead, the Trustee’s Preliminary

Injunction Lawsuit was initiated so the Trustee could request a temporary stay of

Mr. Dam’s Lawsuit.

       To support his argument, Mr. Dam relies on In re ACI-HDT Supply Co., 205

B.R. 231 237-38 (B.A.P. 9th Cir. 1997). ACI-HDT Supply is inapposite. The

procedural context in that case was significantly different from the present case. In

ACI-HDT Supply, the issue was whether a state court lawsuit, filed by unwitting

Ponzi-scheme investors against non-debtor parties, was properly transferred to the

bankruptcy court from a Texas state court. The challenging parties successfully


unprofessional and unpersuasive. Counsel should refrain from such comments in future court
filings.

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    Case 2:22-cv-00040-SAB       ECF No. 1     filed 03/09/22    PageID.12 Page 12 of 36




argued that the Texas state law claims did not fall within the bankruptcy court’s

“core” jurisdiction or within the bankruptcy court’s “related to” jurisdiction. In

other words, the question in ACI-HDT Supply was whether the Texas state court

lawsuit, with its claims based on state law, should be moved and tried in the

bankruptcy court as an adversary action.

         In this case, the procedural context is significantly different from ACI-HDT

Supply.6 The Trustee does not seek to remove Mr. Dam’s Lawsuit to the

bankruptcy court, so the bankruptcy court can adjudicate Mr. Dam’s CPA and

WEARA claims against Perkins. Instead, the Trustee merely seeks a temporary

stay of Mr. Dam’s Lawsuit until the bankruptcy proceedings conclude.

         A similar challenge to a trustee’s standing to pursue an adversary action

requesting a preliminary injunction to stay a lawsuit was rejected in Fisher v.

Apostolou, 155 F.3d 876 (7th Cir. 1998). In Fisher, the trustee requested an

injunction to stay a district court lawsuit against the same defendants the trustee

was suing. The Fisher court stated that the “dispute over the trustee’s standing to




6
  Similar to the claims in that case, the remaining claims in Mr. Dam’s Lawsuit are state law
claims. However, the nature of the claims does not deprive the bankruptcy court of jurisdiction.
Despite its ultimate holding, the ACI-HDT Supply court acknowledged that a civil proceeding is
“related to” a bankruptcy case if the proceeding’s outcome affects the debtor's rights or
obligations. ACI-HDT Supply, 205 B.R. at 237; see also In re Quigley Enterprises (Columbia
Investments v. Nat’l Bank of Alaska), 2000 WL 1881469 (C.A. 9 Alaska 2000) (unpublished
Ninth Circuit case rejecting the argument that ACI-HDT Supply stands for the proposition that
state law claims defeat bankruptcy court jurisdiction).

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  Case 2:22-cv-00040-SAB      ECF No. 1    filed 03/09/22    PageID.13 Page 13 of 36




pursue [the district court plaintiff’s] claims is irrelevant. What is important is the

bankruptcy court’s ‘related to’ jurisdiction.” Id. at 882.

      Like Fisher, the issue in this case is the trustee’s standing to request an

injunction, not the trustee’s standing to pursue Mr. Dam’s CPA and WEARA

claims. The answer is straight-forward: because trustees have standing to bring an

adversary seeking to enjoin third party actions, Trustee Waldron has standing to

pursue the Preliminary Injunction Lawsuit.

      2.     The Bankruptcy Court has Subject Matter Jurisdiction in the Trustee’s
             Preliminary Injunction Lawsuit.

      Subject matter jurisdiction and power are separate prerequisites to the court's

capacity to act. In re Am. Hardwoods, Inc., 885 F.2d 621, 624 (9th Cir. 1989).

Subject matter jurisdiction is the court's authority to entertain an action between

the parties before it. Id. Power under § 105 is the scope and forms of relief the

court may order in an action in which it has jurisdiction. Id. Mr. Dam challenges

the Court’s authority to entertain the Trustee’s Preliminary Injunction Lawsuit.

      Title 28 U.S.C. § 1334(b) grants to federal district courts subject matter

jurisdiction over "all civil proceedings arising under title 11, or arising in or related

to cases under title 11." Title 28 U.S.C. § 151 designates bankruptcy courts as units

of the district courts and 28 U.S.C. § 157(a) defines the scope of bankruptcy courts'

jurisdiction. Similar to section 1334(b), section 157(a) grants to bankruptcy courts



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jurisdiction over “any or all cases under title 11 and any or all proceedings arising

under title 11 or arising in or related to a case under title 11.” 28 U.S.C. § 157(a).

      The Ninth Circuit adopted the Third Circuit’s definition of a “related”

proceeding under § 1334(b):

      The usual articulation of the test for determining whether a civil
      proceeding is related to bankruptcy is whether the outcome of the
      proceeding could conceivably have any effect on the estate being
      administered in bankruptcy. [citations omitted]. Thus, the proceeding
      need not necessarily be against the debtor or against the debtor's
      property. An action is related to bankruptcy if the outcome could alter
      the debtor's rights, liabilities, options, or freedom of action (either
      positively or negatively) and which in any way impacts upon the
      handling and administration of the bankrupt estate.
In re Fietz, 852 F.2d 455, 457 (9th Cir. 1988) (quoting Pacor, Inc. v. Higgins, 743

F.2d 984, 994 (3d Cir.1984)).

      The Fietz court explained that this “related to” test effectively promotes

Congress' objectives by (i) reducing time-consuming and expensive litigation

concerning a bankruptcy court's jurisdiction over a proceeding, and (ii)

encouraging efficient and expeditious resolution of all matters connected to the

bankruptcy estate. Fietz, 852 F.2d at 457.

      Under the Pacor definition, adopted by the Ninth Circuit, this Court has

jurisdiction over a lawsuit to enjoin Mr. Dam if his pursuit of the claims in District

Court “‘could conceivably have any effect’” on the administration of Giga Watt’s

bankruptcy estate. See Fietz, 852 F.2d at 457 (quoting Pacor, 743 F.2d at 994).


ORDER - 9
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Under the Pacor rule, the proceeding “need not necessarily be against the debtor.”

Pacor, 743 F.2d at 994; see also Kaonohi Ohana, Ltd. v. Sutherland, 873 F.2d

1302, 1306–07 (9th Cir. 1989) (“related to” jurisdiction existed because

“nondebtor litigation may directly affect the estate's obligation to creditors whose

claims are currently before the bankruptcy court.”)

             a.     No legal authority exists to apply a narrowed “related to” test
                    to determine subject matter jurisdiction in chapter 7 cases.

      Mr. Dam proposes a novel theory that the bankruptcy court’s authority to

find “related to” jurisdiction is dramatically restricted in chapter 7 cases and the

caselaw related to chapter 11 cases is inapplicable to this case. (Adv. ECF No. 32,

p.2) Specifically, Mr. Dam proposes that in preconfirmation chapter 11 cases “the

related jurisdiction is the broadest and based on the conceivability test rather than

the narrower test in cases like this one where conceivability alone is insufficient.”

(Adv. ECF No. 32, p.2)

      Mr. Dam’s argument rests on dicta from Celotex Corp. v. Edwards:

      It is relevant to note that we are dealing here with a reorganization
      under Chapter 11, rather than a liquidation under Chapter 7. The
      jurisdiction of bankruptcy courts may extend more broadly in the
      former case than in the latter.

Celetox, 514 U.S. at 310. However, Mr. Dam fails to cite to any legal authority that

provides a narrowed test for “related to” jurisdiction applicable to a chapter 7




ORDER - 10
21-80053-FPC
 21-80053-FPC Doc
               Doc40-1
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  Case 2:22-cv-00040-SAB      ECF No. 1    filed 03/09/22   PageID.16 Page 16 of 36




corporate liquidation case. This Court declines the implicit invitation to create such

a test and instead applies existing law.

      Mr. Dam also argues that “the Ninth Circuit … fully embraces the Celotex

narrowing,” but he fails to cite supporting authority applicable to a chapter 7 case.

(Adv. ECF No. 32, p. 10) Instead, Mr. Dam cites two cases where the courts

adopted a narrower “close nexus” test instead of a “related to” test to determine

jurisdiction in chapter 11 cases after a plan of reorganization was confirmed. See In

re Pegasus Gold Corp., 394 F.3d 1189, 1194 (9th Cir. 2005) (adopting “close

nexus” test for post-confirmation chapter 11 cases “because it recognizes the

limited nature of post-confirmation jurisdiction but retains a certain flexibility,

which can be especially important in cases with continuing trusts”); In re Consol.

Meridian Funds, 511 B.R. 140, 144-45 (W.D. Wash. 2014) (recognizing the

“close-nexus” standard is applied in a “bright-line fashion” only when determining

“related to” jurisdiction after the confirmation of a chapter 11 plan).

      This case lacks the critical fact that spurred the Pegasus and Meridian courts

to narrow the “related to” test: Giga Watt does not have a confirmed chapter 11

plan of reorganization. Because this is not a reorganization case, the issues and

concerns implicated in post-confirmation chapter 11 cases are absent. Mr. Dam has

failed to cite binding or persuasive authority that would allow this Court to adopt




ORDER - 11
21-80053-FPC
 21-80053-FPC Doc
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    Case 2:22-cv-00040-SAB        ECF No. 1     filed 03/09/22    PageID.17 Page 17 of 36




and apply a narrower standard of “related to” jurisdiction in a chapter 7 case.7 This

Court applies existing Ninth Circuit law to determine if subject matter jurisdiction

exists because the Trustee’s Preliminary Injunction Lawsuit is “related to” the Giga

Watt bankruptcy proceedings.

               b.     The Seventh Circuit exercised “related to” jurisdiction in a
                       corporate chapter 7 case and issued an injunction under
                      section 105(a) to enjoin a third-party lawsuit against non-
                      debtors.

       Mr. Dam incorrectly declares that no bankruptcy court “has ever exercised

related to jurisdiction in a corporate chapter 7 case” and issued an 11 U.S.C.

§ 105(a) injunction to enjoin third parties from resolving claims against non-

debtors that are pursued in a different forum. (Adv. ECF No. 32, p.2) Mr. Dam

overlooks Fisher v. Apostolou, 155 F.3d 876.

       Fisher started with a scam similar to a Ponzi scheme. The scam involved a

corporate entity primarily operated by one man who was aided by several

accomplices. Eventually, the corporate entity was forced into bankruptcy. While

the bankruptcy was pending, several defrauded investors filed a district court

lawsuit against the accomplices, alleging securities, commodities, and common



7
  Additionally, “injunctions under section 105 are not restricted to reorganizations. At least one
court has extended the likelihood of success analysis to the chapter 7 policy of a fresh start for
individual debtors.” 2 COLLIER ON BANKRUPTCY ¶ 105.03 (16th ed. 2021) (citing Archambault v.
Hershman (In re Archambault), 174 B.R. 923 (Bankr. W.D. Mich. 1994) (where a bankruptcy
court granted a section 105 injunction in an individual chapter 7 to stop a state court collection
action against non-debtor wife)).

ORDER - 12
21-80053-FPC
 21-80053-FPC Doc
               Doc40-1
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                                                                     13ofof31
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    Case 2:22-cv-00040-SAB       ECF No. 1      filed 03/09/22    PageID.18 Page 18 of 36




law fraud. The trustee, who was also pursuing the same defendants, filed an

adversary case seeking to enforce the automatic stay or obtain injunctive relief to

stay the investors’ district court case.

        The Fisher district court affirmed the bankruptcy court’s decision to grant

the trustee a preliminary injunction, finding in part that “both parties were pursuing

the same defendants to redress the same harms.” Fisher, 155 F.3d at 879.8 On

appeal, the Seventh Circuit held that while the investors’ claims did not belong to

the estate, the Trustee was entitled to a temporary injunction because the district

court claims were “so closely related to the … estate, the [investor plaintiffs’] must

wait their turn behind the trustee, who has the responsibility to recover assets for

the estate on behalf of the creditors as a whole….” Id. at 881-82. The Fisher court

explained how the “related to” test applied to a chapter 7 corporate bankruptcy

case:

        [w]hile the [district court plaintiffs] claims are not ‘property of’ the …
        estate, it is difficult to imagine how those claims could be more
        closely “related to it.” They are claims to the same limited pool of
        money, in possession of the same defendants, as a result of the same
        acts, performed by the same individuals, as part of the same
        conspiracy. We can think of no hypothetical change to this case which
        would bring it closer to a “property of” case without converting it into
        one. Even if the “related to” jurisdiction is not as broad in Chapter 7
        cases as it is in Chapter 11 cases … it reaches at least this far, for to
        conclude that the “related to” jurisdiction under Chapter 7 does not

8
 The appellate court reversed the bankruptcy court’s ruling that the investors’ claims belonged to
the estate.



ORDER - 13
21-80053-FPC
 21-80053-FPC Doc
               Doc40-1
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                                                                     14ofof31
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    Case 2:22-cv-00040-SAB       ECF No. 1     filed 03/09/22    PageID.19 Page 19 of 36




       extend to the circumstances of this case would be to amend the
       Bankruptcy Code to eliminate § 105 from Chapter 7 proceedings.
Id. at 882.

       The issues before this Court are similar to Fisher. Both Mr. Dam’s Lawsuit

and the Trustee’s Lawsuit are based on the same facts, suing the same defendants,

and at the heart of the case, alleges the same conduct as a basis for liability. 9

Similar to Fisher, the “related to” jurisdiction, even if not as broad in a Chapter 7

as it may be when a corporate debtor attempts to reorganize, “related to”

jurisdiction properly extends to this adversary case.

       Applying the Ninth Circuit test, this Court finds that the pursuit and

resolution of Mr. Dam’s Lawsuit could conceivably have an effect on the Giga

Watt bankruptcy estate. See Fietz, 852 F.2d at 457. The Court is unpersuaded by

Mr. Dam’s argument that the Trustee’s Lawsuit and Mr. Dam’s Lawsuit, even

slimmed to two remaining claims, are not “related.” The outcome of Mr. Dam’s

Lawsuit could alter the Giga Watt estate’s rights, liabilities or freedom of action

which would likely impact the handling and administration of the estate. Because




9
  While Mr. Dam may pursue only the CPA and WEARA claims, proving these claims will rest
on evidence of unfair or deceptive act committed by Perkins. Mr. Dam’s Lawsuit complaint
alleges that the defendants’ deceptive act was allowing their name and reputation to be used in
solicitations. Specifically, Mr. Dam alleges that in the solicitations, Perkins promised to hold
escrow funds until certain construction milestones were met, and instead they released the funds
improperly. See, United States District Court, Eastern District of Washington, Case Number 20-
cv-00464-SAB, ECF No. 1, ¶¶ 59-60; 64-72. These facts are also at the heart of the Trustee’s
Lawsuit.

ORDER - 14
21-80053-FPC
 21-80053-FPC Doc
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  Case 2:22-cv-00040-SAB      ECF No. 1     filed 03/09/22   PageID.20 Page 20 of 36




Mr. Dam’s Lawsuit is based on the same underlying facts—even if the damages

are sought only under the CPA and WEARA—the resolution of Mr. Dam’s claims

will require the District Court to make factual findings about the existence of an

escrow agreement, the details of the agreement, and whether Perkins violated the

agreement. Considering all the circumstances including the parties, allegations and

claims, Mr. Dam’s Lawsuit is “related to” the Giga Watt bankruptcy and thus this

Court has subject matter jurisdiction over the Trustee’s Preliminary Injunction

Lawsuit.

B.    The Trustee is entitled to a Preliminary Injunction that Temporarily
      Stays Mr. Dam’s Lawsuit during the Pendency of the Trustee’s
      Lawsuit in Bankruptcy Court.

      The Trustee requests a preliminary injunction under 11 U.S.C. § 105(a) to

stay Mr. Dam’s Lawsuit until the Trustee’s Lawsuit is “adjudicated or otherwise

resolved on a final, nonappealable basis.” (Adv. ECF No. 1, pp. 16-17) Generally,

a bankruptcy court has broad equitable powers that include the power to prevent

injustice or unfairness in the administration of the bankruptcy estate. In re Folks,

211 B.R. 378, 384 (B.A.P. 9th Cir. 1997). “While 11 U.S.C. § 105(a) grants the

bankruptcy court broad powers to issue any order ‘necessary or appropriate to

carry out the provisions of this title,’ it is an extraordinary exercise of discretion to

use that power to stay a third party action not involving the debtor.” In re G.S.F.

Corp., 938 F.2d 1467, 1474 (1st Cir. 1991), overruled on other grounds by Conn.


ORDER - 15
21-80053-FPC
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               Doc40-1
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  Case 2:22-cv-00040-SAB      ECF No. 1    filed 03/09/22   PageID.21 Page 21 of 36




Nat'l Bank v. Germain, 503 U.S. 249, 112 S.Ct. 1146, 117 L.Ed.2d 391 (1992); see

also In re Southmark Corp., 49 F.3d 1111, 1116 (5th Cir. 1995) (powers under

§ 105(a) are not unlimited; the statute does not permit a bankruptcy court to “act as

a roving commission to do equity”).

      Under 11 U.S.C. § 105(a), a bankruptcy court may issue an injunction to halt

proceedings that are not subject to the automatic stay, but that “threaten the

integrity of a bankrupt's estate.” In re Excel Innovations, Inc., 502 F.3d 1086, 1093

(9th Cir. 2007) (quoting Canter v. Canter (In re Canter), 299 F.3d 1150, 1155 (9th

Cir. 2002)). In the Ninth Circuit, “although referred to as extensions of the

automatic stay, this ‘extension’ is in fact an injunction” issued by the bankruptcy

court after the moving party makes the required showing that an injunction is

necessary to protect the administration of the bankruptcy estate. Boucher v. Shaw,

572 F.3d 1087, 1093 n.3 (9th Cir. 2009) (citing Chugach Timber Corp. v. N.

Stevedoring & Handling Corp. (In re Chugach Forest Prods.), 23 F.3d 241, 247

(9th Cir. 1994)); see also In re Spaulding Composites Co., Inc., 207 B.R. 899 (9th

Cir. B.A.P. 1997). A bankruptcy court may enjoin a creditor’s prosecution of an

action against a third party where the action is sufficiently related to the

bankruptcy estate’s claims against the same third party to allow the trustee to

proceed first. 3 COLLIER ON BANKRUPTCY ¶ 362.03 (16th ed. 2021).




ORDER - 16
21-80053-FPC
 21-80053-FPC Doc
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     Case 2:22-cv-00040-SAB      ECF No. 1     filed 03/09/22    PageID.22 Page 22 of 36




        The bankruptcy court applies the traditional preliminary injunction test, in

which the plaintiff must show: (1) a likelihood of success on the merits; (2) the

likelihood of irreparable injury to plaintiff if preliminary relief is not granted; (3)

the balance of equities favors plaintiff; and (4) in certain cases, injunctive relief is

in the public interest. Winter v. Natural Res. Def. Council, 555 U.S. 7, 20, 129

S.Ct. 365, 172 L.Ed.2d 249 (2008) (plaintiffs must establish that irreparable harm

is likely, not just possible, in order to obtain a preliminary injunction); Garcia v.

Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015).10 “Alternatively, a court may issue

an injunction if the moving party demonstrates either a combination of probable

success on the merits and irreparable injury or that serious questions are raised and

the balance of hardships tips in his favor.” FTC v. Evans Products Co., 775 F.2d

1084, 1088–89 (9th Cir.1985). This opinion will address the two tests separately.

        1.    Traditional Test Factor One: Likelihood of Success on the Merits.

        To show that it is likely to succeed on the merits, the moving party does not

need to prove its case in full. Univ. of Tex. v. Camenisch, 451 U.S. 390, 395, 101

S.Ct. 1830, 1834, 68 L.Ed.2d 175, 180 (1981). Instead, the moving party must

establish that a reasonable probability exists that the necessary facts can be proven



10
   However, Ninth Circuit bankruptcy outlier cases exist that dispense with elements of the
traditional preliminary injunction standard. See, e.g., Beck v. Fort James Corp. (In re Crown
Vantage, Inc.), 421 F.3d 963, 975–76 (9th Cir. 2005) (“our usual preliminary injunction standard
does not apply to injunctions issued by the bankruptcy court pursuant 11 U.S.C. § 105,” and “the
court does not need to demonstrate an inadequate remedy at law or irreparable harm.”)

ORDER - 17
21-80053-FPC
 21-80053-FPC Doc
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     Case 2:22-cv-00040-SAB      ECF No. 1     filed 03/09/22    PageID.23 Page 23 of 36




at trial. Sierra On-Line, Inc. v. Phoenix Software, Inc., 739 F.2d 1415, 1417 (9th

Cir. 1984). In other words, the movant must establish “a strong likelihood of

success” on the merits in the relevant proceedings. Winter 555 U.S. at 32.

        In determining the relevant proceedings the Court should analyze for

“success on the merits” is simple in some cases. In this case, it is less clear. “[T]the

Ninth Circuit has not definitively set forth to what action courts should look when

considering this prong of the preliminary injunction test in the context of a

§ 105(a) injunction.” In re First All. Mortg. Co., 264 B.R. 634, 653 (C.D. Cal.

2001) (collecting cases). Some courts examine a likelihood of success in

reorganizing, while other courts examine other related actions or proceedings.11

“The inquiry for a preliminary injunction necessarily focuses on the outcome of a

later proceeding, at which time the merits of the questions giving rise to the

litigation will be decided.” Excel Innovations, 502 F.3d at 1095 (quoting

Commonwealth Oil, 805 F.2d at 1189) (chapter 11 debtor-corporation sought

preliminary injunction to stay arbitration proceedings between debtor’s former

CEO and a third party).



11
  See e.g., Matter of Commonwealth Oil Refining Co., Inc., 805 F.2d 1175, 1189–90 (5th Cir.
1986) (court focused on likelihood of success on the merits of the lawsuit that the debtor
requested enjoined); In re Hunt, 93 B.R. 484, 493 (Bankr.N.D.Tex. 1988) (court examined
debtor’s related appeal of judgment and the merits of pending motion in lawsuit that debtor
requested enjoined); In re Security Gas & Oil, Inc., 70 B.R. 786, 793 n. 3 (Bankr.N.D.Cal. 1987)
(success on the merits refers to whether the debtor can show the “enforcement of the state laws
will unduly interfere with the bankruptcy adjudication”).

ORDER - 18
21-80053-FPC
 21-80053-FPC Doc
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  Case 2:22-cv-00040-SAB     ECF No. 1    filed 03/09/22   PageID.24 Page 24 of 36




      Mr. Dam asserts that “success on the merits” as applied to this case requires

the Trustee to show “a strong likelihood of successful reorganization.” (Adv. ECF

No. 28, p. 17) Because the Giga Watt bankruptcy is a liquidation case and not a

reorganization case, analyzing a “successful reorganization,” is an incorrect

inquiry. The Trustee asserts “success on the merits” applies to the Trustee’s

Lawsuit and the bankruptcy case as a whole. (Adv. ECF No. 3, p. 9)

      In this case, the relevant proceeding is the Trustee’s Lawsuit. The Trustee’s

Lawsuit is “the most important remaining asset” of the Giga Watt estate. (Adv.

ECF No. 3, p. 5) The Trustee’s Lawsuit seeks damages for the estate creditors—

which include Mr. Dam and many other token purchasers who filed claims in the

bankruptcy case—based on theories that arise from Perkins’ release of token

purchase funds that Perkins agreed to hold in escrow.

      The Trustee’s Lawsuit asserts claims against Perkins for breach of fiduciary

duty and aiding and abetting other parties’ breach of fiduciary duties. Breach of

fiduciary duty requires the plaintiff to prove: (1) existence of a duty owed; (2)

breach of that duty; (3) resulting injury; and (4) that the claimed breach

proximately caused the injury. Calvert v. Zions Bancorporation, (In re Consol.

Meridian Funds), 485 B.R. 604, 618 (Bankr. W.D. Wash. 2013) (citing Micro

Enhancement Int’l, Inc. v. Coopers & Lybrand, LLP, 110 Wash. App. 412, 433–34,

40 P.3d 1206 (2002)). In a fiduciary relationship, one party “‘occupies such a


ORDER - 19
21-80053-FPC
 21-80053-FPC Doc
               Doc40-1
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     Case 2:22-cv-00040-SAB       ECF No. 1      filed 03/09/22    PageID.25 Page 25 of 36




relation to the other party as to justify the latter in expecting his interests will be

cared for ….’” Liebergesell v. Evans, 93 Wash.2d 881, 889-90, 613 P.2d 1170

(1980) (quoting Restatement of Contracts § 472 (1)(c) (1932)). Aiding and abetting

liability requires the plaintiff show: (i) the existence of a violation of the primary

wrongdoer; (ii) knowledge of this violation by the aider and abettor; and (iii) the

aider and abettor substantially assisted in the primary wrong. Consol. Meridian

Funds, 485 B.R. at 616.

        Mr. Dam contends that the Trustee has not met the “success on the merits”

test because the Trustee has not provided “admissible evidence showing Perkins

had a fiduciary relationship with the Debtor.” (Adv. ECF No. 28, pp. 18-19) Mr.

Dam urges the Court to apply an incorrect standard. At this stage, the Trustee is not

required to prove its case in full. Camenisch, 451 U.S. at 395. Instead, under the

traditional injunction test, the Court analyzes whether a reasonable probability

exists that the necessary facts can be proven at trial. 12

        To meet this test, the Trustee has provided evidence that establishes the

Trustee’s Lawsuit is likely to succeed on the merits. For example, the Trustee has

provided evidence that Mr. Ness approved of the escrow terms and understood the




12
   Both the Trustee and Mr. Dam filed lawsuits against Perkins, alleging nearly identical facts
and legal theories. It is a striking contradiction for Mr. Dam to now argue that the Trustee is not
likely to succeed on claims that are quite similar to claims Mr. Dam was, until recently, actively
pursuing.

ORDER - 20
21-80053-FPC
 21-80053-FPC Doc
               Doc40-1
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  Case 2:22-cv-00040-SAB      ECF No. 1    filed 03/09/22   PageID.26 Page 26 of 36




role Perkins played in the token sale, and he understood the important legal

ramifications of tying release of escrowed proceeds to construction milestones.

Perkins admits it collected, held, and disbursed token sale funds.

      The Trustee has also presented evidence that contradicts Perkins’ primary

defense that the Debtor was not injured by the release because the escrowed funds

were ultimately given to the Debtor. The Trustee’s evidence reveals that Giga Watt

Singapore, the entity that withdrew the escrow funds, commingled the escrow

proceeds with operational funds, rendering the task of tracing the source of funds

paid to the Debtor extremely difficult without a trial. Moreover, the Trustee’s

evidence indicates that the Debtor did not have access to Giga Watt Singapore’s

financial accounts or account information. In sum, the Trustee has submitted

sufficient evidence supporting the allegations, including that the funds were

released contrary to the parties’ agreement, and thus has established a likelihood of

success on the merits. In reviewing the record presented by the Trustee, the Court

finds that a reasonable probability exists that the Trustee can prove the necessary

facts at trial to support Perkins’ liability in the Trustee’s Lawsuit.

      2.     Traditional Test Factor Two: Likely Irreparable Harm.

      Second, the Trustee must demonstrate that irreparable harm is likely to result

in the absence of the injunction. Alliance For The Wild Rockies v. Cottrell, 632

F.3d 1127, 1135 (9th Cir. 2011). In other words, unless an injunction is granted,


ORDER - 21
21-80053-FPC
 21-80053-FPC Doc
               Doc40-1
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 Case 2:22-cv-00040-SAB      ECF No. 1    filed 03/09/22   PageID.27 Page 27 of 36




the plaintiff will suffer harm which cannot be repaired. Studebaker Corp. v.

Gittlin, 360 F.2d 692, 698 (2d Cir. 1966). “The purpose of a preliminary

injunction is merely to preserve the relative positions of the parties until a trial on

the merits can be held.” Camenisch, 451 U.S. at 395.

      In this case, the Trustee’s Lawsuit was filed first and Mr. Dam’s Lawsuit

was filed a few months later. Mr. Dam’s Lawsuit proposes a class of plaintiffs, but

the District Court has not yet certified a class. As it stands, Mr. Dam is the sole

plaintiff.

      If Mr. Dam’s Lawsuit proceeds, evidence used in that case could be used

against the Debtor in the Trustee’s Lawsuit. Both cases will largely rely upon the

same witnesses and documents. Because Mr. Dam’s Lawsuit is based on the same

underlying facts—despite the fact the damages are dictated by the CPA and

WEARA—the resolution of Mr. Dam’s claims will require the District Court to

make factual findings about the existence of an escrow agreement, the details of

the agreement, and whether Perkins violated the agreement. These facts are at the

core of the Trustee’s Lawsuit. If Mr. Dam’s Lawsuit proceeds ahead of the

Trustee’s Lawsuit, evidence and facts may be established without the presence of

the estate. Yet the estate will not have the benefit of the fundamental protections

available to a party defendant, such as the right of cross-examination. As a result,

the District Court judge’s findings, conclusions and any judgment could alter the


ORDER - 22
21-80053-FPC
 21-80053-FPC Doc
               Doc40-1
                   39 Filed
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 Case 2:22-cv-00040-SAB      ECF No. 1    filed 03/09/22   PageID.28 Page 28 of 36




Giga Watt estate’s rights, liabilities, or freedom of action, which would

detrimentally impact the administration of the estate.

     Additionally, the likelihood of irreparable harm is apparent from the

confusion and duplication of efforts that would result without an injunction.

Without an injunction, identical issues, with nearly identical parties, would be

litigated in two different courts at the same time. For example, without an

injunction, critical witnesses could be subpoenaed for depositions on the same day

in two different law offices. On the other hand, with an injunction, the first filed

lawsuit could proceed efficiently and, after the Bankruptcy Court delivers

proposed findings and conclusions to the District Court, all matters will be before

one District Court Judge.

     Moreover, Mr. Dam chose to file claims in the Giga Watt bankruptcy case.

As a result, the Trustee’s pursuit of and recovery in the Trustee’s Lawsuit will

likely benefit Mr. Dam, along with the many other creditors who filed claims in

the bankruptcy.

      Mr. Dam asserts that the Trustee cannot meet the irreparable harm test

because when a trustee and a nondebtor plaintiff sue a common defendant “on the

same nucleus of operative facts,” the third party lawsuit “does not affect the

administration of a Chapter 7 corporate debtor’s estate.” (Adv. ECF No. 28, p. 20)

For this legal proposition, Mr. Dam relies on two cases: In re FoodServiceWare-


ORDER - 23
21-80053-FPC
 21-80053-FPC Doc
               Doc40-1
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  Case 2:22-cv-00040-SAB      ECF No. 1    filed 03/09/22   PageID.29 Page 29 of 36




house.com, LLC, 601 B.R. 396 (E.D. La. 2019) and In re Enivid, Inc., 364 B.R.

139, 142 (Bankr. D. Mass. 2007).

      Mr. Dam’s reliance is misplaced. FoodServiceWarehouse.com is not binding

authority in the Ninth Circuit. Moreover, the case is not persuasive: it has never

been cited as authority to deny a preliminary injunction. Ironically, the case has

been cited only once outside of the Eastern District of Louisiana, when a Texas

district court affirmed the bankruptcy court’s grant of a preliminary injunction in a

chapter 11 case. See In re Acis Cap. Mgmt., L.P., 604 B.R. 484, 529 (N.D. Tex.

2019), aff'd sub nom., 850 F. App'x 302 (5th Cir. 2021) (affirming bankruptcy

court’s granting of preliminary injunction under § 105(a)).

      Similarly, Enivid is of little help because it is inapposite. In that case, all the

assets of the corporation were transferred to a liquidating trust and the estate no

longer existed. In this case, the estate still exists. Additionally, the Enivid lawsuits

were shareholder suits against the officers and directors, and the parties had

reached a settlement whereby the judgment would be paid by insurance proceeds.

In short, Enivid does not stand for a proposition that can be applied to this case.

      3.     Traditional Test Factor Three: Balancing the Hardships.

      When determining whether to grant preliminary injunctive relief, the court

balances the competing interests and rights of the parties involved. Winter, 555

U.S. at 24. A bankruptcy court must “identify the harms which a preliminary


ORDER - 24
21-80053-FPC
 21-80053-FPC Doc
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  Case 2:22-cv-00040-SAB      ECF No. 1    filed 03/09/22   PageID.30 Page 30 of 36




injunction might cause to defendants and ... weigh these against plaintiff's

threatened injury.” Excel Innovations, 502 F.3d at 1097 (quoting Caribbean

Marine Servs. Co. v. Baldrige, 844 F.2d 668, 676 (9th Cir.1988) (citation

omitted)). A trustee's obligation to the estate is a significant factor to consider in

balancing the relative hardships. Altman v. Davis & Dingle Family Dentistry (In re

EZ Pay Servs.), 389 B.R. 751, 760 (Bankr. M.D. Fla. 2007) (discussing Fisher, 155

F.3d 876) ("[T]he Court is guided by the Seventh Circuit's premise that a Trustee's

obligation to the estate is a significant factor to consider in balancing the relative

harm to competing parties under §105."))

      The Trustee is suing Perkins to maximize the bankruptcy estate for the

benefit of the creditors, including Mr. Dam, and seeks to temporarily enjoin Mr.

Dam’s Lawsuit. The Trustee and Mr. Dam are suing the same defendants for

claims that arose out of the same transactions. Enjoining Mr. Dam’s Lawsuit may

impose a small hardship on Mr. Dam because his lawsuit will be temporarily

delayed. However, the temporary delay for Mr. Dam is slight as compared to the

hardship on the estate if his lawsuit is not enjoined.

      If Mr. Dam’s Lawsuit continues, the Trustee will likely be drawn into those

evidentiary and trial proceedings, thus diverting the Trustee’s attention and likely

delaying the ability to finalize the bankruptcy proceedings. Moreover, if




ORDER - 25
21-80053-FPC
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  Case 2:22-cv-00040-SAB      ECF No. 1    filed 03/09/22   PageID.31 Page 31 of 36




successful, Mr. Dam’s judgment would likely substantially impair collection

against Perkins, thus harming all the creditors of the Giga Watt estate.

      Finally, because the Trustee’s Lawsuit was commenced first and seeks

recovery for the benefit of all creditors, Mr. Dam’s Lawsuit must wait so the

Trustee may fulfill his responsibility to recover assets for the estate on behalf of

the creditors as a whole. The balance of hardships tips sharply in the Trustee’s

favor – the delay in Mr. Dam’s Lawsuit imposes a slight hardship. The Trustee's

statutory responsibility to recover assets for the benefit of the estate and the

threatened injury to that estate outweighs the potential harm a temporary stay will

cause to Mr. Dam.

      The hardship to Mr. Dam from a preliminary injunction is a brief delay in

the ability to pursue consumer protection litigation. Significantly, Mr. Dam may

also receive a distribution as a result of the Trustee’s Lawsuit. Moreover, Mr. Dam

will have the right to be heard in the bankruptcy court on any Trustee’s motion to

approve any settlement with Perkins, and Mr. Dam will be free to recommence his

lawsuit after final disposition of the bankruptcy proceedings.

      Finally, enjoining Mr. Dam’s Lawsuit promotes judicial economy. As noted

above, the Trustee’s Lawsuit is not a “core” proceeding, and after trial, this Court

will submit proposed findings and conclusions to the District Court for a final




ORDER - 26
21-80053-FPC
 21-80053-FPC Doc
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  Case 2:22-cv-00040-SAB     ECF No. 1    filed 03/09/22   PageID.32 Page 32 of 36




decision. At that time, the District Court will have the opportunity to conduct Mr.

Dam’s trial and render a final decision on both cases.

      4.     Traditional Test Factor Four: the Public Interest.

      In exercising discretion, courts of equity “should pay particular regard for

the public consequences in employing the extraordinary remedy of injunction."

Winter, 555 U.S. at 24. “The public interest inquiry primarily addresses impact on

non-parties rather than parties.” League of Wilderness Defs./Blue Mountains

Biodiversity Project v. Connaughton, 752 F.3d 755, 766 (9th Cir. 2014).

      In this case, the public consequences favor granting the preliminary

injunction. Without class certification, Mr. Dam’s Lawsuit currently is pursued by

only Mr. Dam. The public interest does not favor allowing a potential recovery to

only a single investor, when the Trustee represents the interest of the estate which

includes claims from over 280 investors who filed claims in the bankruptcy.

      Mr. Dam argues that enjoining his lawsuit “impairs a public interest by

making favorable resolution of the bankruptcy proceeding unlikely to happen

anytime soon.” (Adv. ECF No.28, p. 24) The Court takes the opposite view. The

bankruptcy proceeding, which includes the Trustee’s Lawsuit, will move swiftly in

the bankruptcy court forum. Trial is scheduled for November 21, 2022. (Adv. 20-

80031, ECF No. 77) With Mr. Dam’s Lawsuit stayed, the parties can attend to the

Trustee’s Lawsuit, enabling the Trustee to fully administer the bankruptcy estate.


ORDER - 27
21-80053-FPC
 21-80053-FPC Doc
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   Case 2:22-cv-00040-SAB      ECF No. 1    filed 03/09/22   PageID.33 Page 33 of 36




       Moreover, private companies, small businesses, and individuals have

asserted claims against the estate arising from their support of the Giga Watt

Project. Additionally, two government entities, the Chelan-Douglas County Port

Authority, formerly known as the Port of Douglas County, and the Douglas County

Public Utility District have asserted claims against the estate. The public interest

will be served by protecting the integrity of the bankruptcy estate and maximizing

the potential distribution to all creditors, including these public entities.

       5.     Alternative Test: Serious Questions.

       In ruling on the request for a preliminary injunction, this Court should also

consider an alternative to the traditional test, referred to as the “serious questions

test.” In Wild Rockies, the Ninth Circuit held it was an abuse of discretion for the

trial court to deny a preliminary injunction without applying the “serious questions”

test. See Wild Rockies, 632 F.3d at 1135.

       The serious questions test is related to the traditional “success on the merits”

prong. This alternative test allows the court to grant a preliminary injunction when

the plaintiff does not establish a strong possibility of success but raises “serious

questions” related to the merits. Benda v. Grand Lodge of Int'l Ass'n of Machinists

& Aerospace Workers, 584 F.2d 308, 315 (9th Cir. 1978); Shell Offshore, Inc. v.

Greenpeace, Inc., 709 F.3d 1281, 1291 (9th Cir. 2013). Under this test, a plaintiff

must also establish the balance of hardships tips sharply towards the plaintiff, a


ORDER - 28
 21-80053-FPC
  21-80053-FPC Doc
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   Case 2:22-cv-00040-SAB      ECF No. 1    filed 03/09/22   PageID.34 Page 34 of 36




likelihood of irreparable injury, and that the injunction is in the public interest. Wild

Rockies, 632 F.3d at 1135.

       For purposes of analyzing success on the merits, “serious questions refer to

questions which cannot be resolved one way or the other at the hearing on the

injunction . . . .” Gilder v. PGA Tour, Inc., 936 F.2d 417, 418 (9th Cir. 1991).

"Serious questions are substantial, difficult and doubtful, as to make them a fair

ground for litigation and thus for more deliberative investigation." Gilder, 936 F.2d

at 418 (quoting Hamilton Watch Co. v. Benrus Watch Co., 206 F.2d 738, 740 (2nd

Cir. 1953)). A successful plaintiff under the “serious question” test demonstrates

less than a certainty of success, and instead establishes a “fair chance of success on

the merits.” Gilder, 936 F.2d at 418 (quoting National Wildlife Fed'n v. Coston, 773

F.2d 1513, 1517 (9th Cir. 1985)). Stated another way, the serious questions test

allows for a sliding scale approach, wherein “the elements of the preliminary

injunction test are balanced, so that a stronger showing of one element may offset a

weaker showing of another.” Wild Rockies, 632 F.3d at 1131.

       The Trustee has established that the Trustee’s Lawsuit raises serious

questions about Perkins’ liability for prematurely releasing millions of dollars that it

held in escrow. As discussed above, Perkins’ defense is that the Debtor was not

injured by the release because the escrowed funds were released to the Debtor. In

response, the Trustee has provided evidence the fund transfers from Giga Watt


ORDER - 29
 21-80053-FPC
  21-80053-FPC Doc
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  Case 2:22-cv-00040-SAB      ECF No. 1    filed 03/09/22   PageID.35 Page 35 of 36




Singapore to the Debtor were for operations, made pursuant to the partnership

agreement. The Trustee has also submitted evidence indicating that no correlation

exists between the escrow withdrawals and Giga Watt Singapore’s money transfers

to the Debtor, and that Debtor had no access to information about, or control of,

Giga Watt Singapore’s finances. Finally, the Trustee has submitted evidence

suggesting that Giga Watt Singapore engaged in commingling of its assets,

including commingling the escrow proceeds with its operational and other funds.

       At a minimum, the Trustee raises serious questions, which are substantial,

difficult, and doubtful to answer at this preliminary hearing about Perkins’ liability.

Considering the circumstances, evidence, and allegations, the Court finds that the

Trustee has established serious questions that are fair ground for litigation and more

deliberate investigation. Thus, Trustee meets the “serious questions” test for success

on the merits in the Trustee’s Lawsuit.

       In addition to raising serious questions, as analyzed above, the balance of

hardships tips sharply in favor of the Trustee. The harm to Mr. Dam is slight if Mr.

Dam’s Lawsuit is temporarily stayed. By contrast, if Mr. Dam’s Lawsuit proceeds,

the Trustee’s ability to pursue his lawsuit and to fully and timely administer the

bankruptcy estate will be severely harmed. Finally, as analyzed above, the Trustee

has met both remaining elements: the estate is likely to suffer irreparable harm if




ORDER - 30
 21-80053-FPC
  21-80053-FPC Doc
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  Case 2:22-cv-00040-SAB      ECF No. 1    filed 03/09/22   PageID.36 Page 36 of 36




Mr. Dam’s Lawsuit is not enjoined, and the public interest favors the imposition of

a temporary injunction.

                          CONCLUSION AND ORDER

      The Court has subject matter jurisdiction of this adversary proceeding in

which the Trustee requests a preliminary injunction. Additionally, the Trustee has

satisfied the preliminary injunction four-factor test, and alternatively, the “serious

questions” test and thus is entitled to a preliminary injunction, temporarily staying

Mr. Dam’s Lawsuit.

      The pursuit of Mr. Dam’s Lawsuit during the pendency of the Trustee’s

Lawsuit threatens the jurisdiction of this Court, the integrity of the bankruptcy

process, and the orderly liquidation of the bankruptcy estate. THEREFORE, based

on the foregoing it is ORDERED:

      1.     Defendant Jun Dam’s Motion To Dismiss for Lack of Subject Matter

Jurisdiction (Adv. ECF No. 21) is DENIED;

      2.     Trustee Mark Waldron’s Motion for Injunctive Relief (Adv. ECF No.

2) is GRANTED; and

      3.     Eastern District of Washington Case No. 2:20-cv-00464-SAB IS

ENJOINED until this Court issues a Report and Recommendation to the District

Court or until the parties otherwise fully resolve the Trustee’s Lawsuit.

                                    /// END OF ORDER ///


ORDER - 31
21-80053-FPC
 21-80053-FPC Doc
               Doc40-1
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